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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


EMIL FLUTE and PATRICIA FLUTE,                                 4:18-cv-04112-RAL

       Plaintiffs,
                                                      NOTICE OF WITHDRAWAL AND
v.                                                     SUBSTITUTION OF COUNSEL

UNITED STATES OF AMERICA,

                      Defendant.


       Comes now the Defendant, by and through its undersigned counsel, and files this Notice

of Withdrawal and Substitution of Counsel. Assistant United States Attorney Delia M. Druley

was originally assigned to this case but will be departing from the U.S. Attorney’s Office and

returning to private practice effective June 18, 2021. Assistant United States Attorney Diana

Ryan is now appearing as counsel for Defendant in the above-captioned action, replacing Assistant

United States Attorney Delia M. Druley.

       Notice is further given that all papers and documents in said action are to be served upon

the undersigned as counsel of record for Defendant.

       Dated this 17th day of June, 2021.

                                            DENNIS R. HOLMES
                                            Acting United States Attorney

                                            /s/ Diana Ryan
                                            Diana Ryan, Civil Chief
                                            Assistant U.S. Attorney
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